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                          IN THE UNITED STATES BANKRUPTCY COURT

                             FOR THE DISTRICT OF DELAWARE


 In re:                                                    Chapter 7

 NLG, LLC,                                                 Case No. 21-11269 (JKS)

           Debtor.


 CHRIS KOSACHUK,

           Plaintiff,

                   v.                                      Adv. Pro. No. 22-50421 (JKS)

 SELECTIVE ADVISORS GROUP, LLC,                            Related Adv. D.I. 8, 9, 15, 16, and 23
 and 9197-5904 QUEBEC, INC.,

           Defendants.


                                              ORDER

          For the reasons set forth in the Court’s Opinion dated February 16, 2023, Defendant’s

Motion to Dismiss (Adv. D.I. 8), filed on December 11, 2022, is GRANTED, in part, as set forth

below:

          1. The Court does not have subject matter jurisdiction over the underlying dispute.

          2. Alternatively, the Court will permissively abstain from hearing the underlying dispute.




Dated: February 16, 2023

                                                      __________________________
                                                      J. Kate Stickles
                                                      United States Bankruptcy Judge
